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        LAWRENCE KENNEDY NELSON
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      6
      7                                 UNITED STATES DISTRICT COURT
                                      EASTERN DISTRICT OF CALIFORNIA
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      9
          UNITED STATES OF AMERICA,                     )   Case No: 2:12-CR-00169 MCE
     10
                                                        )
     11      Plaintiff,                                 )
                                                        )   STIPULATION AND
     12          v.                                     )   ORDER TO CONTINUE STATUS
                                                        )   CONFERENCE AND TO EXCLUDE
     13 LAWRENCE KENNEDY NELSON,                        )   TIME PURSUANT TO THE SPEEDY
     14                                                 )   TRIAL ACT
             Defendant.                                 )
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     16
     17          IT IS HEREBY STIPULATED by and between the undersigned parties, Jason Hitt,
     18 Assistant United States Attorney and V.Roy Lefcourt, attorney for defendant LAWRENCE
     19 KENNEDY NELSON, that the previously scheduled status conference date of August 1, 2013 be
     20 vacated and the matter set for status conference on September 26, 2013 at 9:00 a.m.
     21          It is the intent of counsel to resolve this matter by plea, and both parties are confident that
     22 a reasonable continuance will result in a plea agreement. Therefore, it is respectfully requested
     23 that a continuance be granted to allow counsel additional time to complete a plea agreement.
     24          Further, the parties agree and stipulate the ends of justice will be served by the granting of
     25 such a continuance which outweigh the best interests of the public and the defendant’s right to a
26        speedy trial and that time within which the trial of this case must be commenced under the Speedy
          Trial Act should therefore be excluded under 18 U.S.C. § 3161(h)(7)(B)(iv), corresponding to
                                                                                                                   1
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          Local Code T-4, from the date of the parties’ stipulation, August 1, 2013, to and including
      1
          September 26, 2013.
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                   Accordingly, the parties respectfully request the Court adopt this proposed stipulation.
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                   IT IS SO STIPULATED.
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      5
          DATED: July 29, 2013                           Respectfully submitted,
      6
      7
                                                         _/s/ V.ROY LEFCOURT_____________
      8                                                  V.ROY LEFCOURT
                                                         Attorney for Defendant
      9                                                  LAWRENCE KENNEDY NELSON

     10
          DATED: July 29, 2013
     11                                                  _/s/ JASON HITT__________________
                                                         JASON HITT
     12                                                  Assistant United States Attorney
                                                         By Watina Fee per email authorization
     13
     14
     15                                                  ORDER
     16
                   The Court, having received, read, and considered the stipulation of the parties, and good
     17
          cause appearing therefrom, adopts the stipulation of the parties in its entirety as its order. Based
     18
          on the stipulation of the parties and the recitation of facts contained therein, the Court finds that a
     19 continuance is necessary for the effective preparation of counsel and for the completion of a plea
     20 agreement. The Court finds that the ends of justice to be served by granting the requested
     21 continuance outweigh the best interests of the public and the defendant in a speedy trial.
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                The Court orders that the time from the date of the parties’ stipulation to and including
      1 September 26, 2013, shall be excluded from computation of time within which the trial of this
      2 case must be commenced under the Speedy Trial Act pursuant to 18 U.S.C. § 3161(h)(7)(B)(iv),
        and Local T-4. It is further ordered that the August 1, 2013 status conference shall be continued
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        until September 26, 2013 at 9:00 a.m. in Courtroom 7.
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                IT IS SO ORDERED.
      5 Dated: August 2, 2013
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